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                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF FLORIDA
                                PENSACOLA DIVISION

UNITED STATES OF AMERICA

      VS                                                             CASE NO. 3:09cr28/MCR

DAISY MARIA MACHIGUA

                                  REFERRAL AND ORDER

Referred to Judge M. Casey Rodgers on May 5, 2009
Motion/Pleadings: DEFENDANT DAISY MARIA MACHIGUA'S MOTION TO SEVER
DEFENDANTS TOMMY LEE LOVETT, III & MARCUS ALAN LOVETT & NOTICE OF
OBJECTION TO CONTINUANCE
Filed by Defendant                       on 4/29/2009    Doc.#     61
RESPONSES:
                                         on              Doc.#
                                         on              Doc.#
        Stipulated           Joint Pldg.
        Unopposed            Consented
                                         WILLIAM M. McCOOL, CLERK OF COURT

                                             s/ Susan Simms
LC (1 OR 2)                                  Deputy Clerk: Susan Simms


                                           ORDER
      Upon consideration of the foregoing, it is ORDERED this 5th day of May,
2009, that:
      The relief requested is DENIED.            Trial has been continued from the May 4
trial docket to the June 1 trial docket based on the government’s motion to
consolidate with a newly arraigned co-defendant, which the court granted.                  Such
delay is reasonable.       The court further finds that defendant has failed to show
that a joint trial of these co-defendants would compromise her right to a fair
trial or prevent the jury from making a reliable judgment of guilt or innocense.
Defendant     has   also   not   shown   that   the   jury   would   be   unable   to   make   an
individualized determination of guilt.           Defendant has offered only conjecture in
this regard.

                                                s/   M. Casey Rodgers
                                                            M. CASEY RODGERS
                                                      United States District Judge
